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                          UNITED STATES DEPARTMENT OF JUSTICE
                          OFFICE OF THE UNITED STATES TRUSTEE
                                 DISTRICT OF DELAWARE

                                                   :
    In re                                          :   Chapter 11
                                                   :
    FTX TRADING LTD., et al.,                      :   Case No. 22-11068 (JTD)
                                                   :   (Jointly Administered)
                                 Debtors.          :
                                                   :   FIFTH AMENDED 1 NOTICE OF
                                                   :   APPOINTMENT OF COMMITTEE OF
                                                   :   UNSECURED CREDITORS
                                                   :


            Pursuant to Section 1102(a)(1) of the Bankruptcy Code, I hereby appoint the following

persons to the Committee of Unsecured Creditors in connection with the above-captioned cases:


            1. Pulsar Global Ltd., Attn: Michele Wan and Jacky Yip, Unit 903-905, K11 Atelier
               Victoria Dockside, 18 Salisbury Road, Kowloon, Hong Kong; Phone: (+852
               90176586); michele.wan@pulsar.com; jacky.yip@pulsar.com.
            2. Larry Qian, an individual creditor.
            3. Wincent Investment Fund PCC Ltd., Attn: Charles Melvin, c/o Wincent Capital
               Management, Old Police Station, 120B Irish Town, Gibraltar, GX11 1AA; E-mail:
               legal@wincent.co.

                                                ANDREW R. VARA
                                                UNITED STATES TRUSTEE,
                                                REGIONS 3 & 9
                                                 /s/ Benjamin Hackman for
                                                JOSEPH J. MCMAHON, JR.
                                                ASSISTANT U.S. TRUSTEE
                                                benjamin.a.hackman@usdoj.gov

DATED: July 3, 2024

Attorney assigned to these cases: Benjamin Hackman, Phone: (302) 573-6491, Fax: (302) 573-
6497, Email: benjamin.a.hackman@usdoj.gov

Debtors’ counsel: Adam G. Landis, Landis Rath & Cobb LLP, Phone: 302-467-4400, Fax: 302-
467-4450, Email: landis@lrclaw.com



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      Amended to reflect resignations of Zachary Bruch and Coincident Capital International, Ltd.,
      effective June 27, 2024.
